              Case 22-42780-mxm11  Doc
                               UNITED  124 Filed
                                      STATES     01/18/23 COURT
                                             BANKRUPTCY    Entered 01/18/23 20:53:33                                               Desc
                                      Main Document   Page 1 of 1
                                  NORTHERN DISTRICT OF TEXAS
                                                      FORT WORTH DIVISION
    IN RE:                                                                         CHAPTER       11
    NGV Global Group, Inc.


    DEBTOR(S)                                                                      CASE NO       22-42780-11-mxm



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered

 Farroukh Zaidi                                                    Common                                                100%
 10733 Spangler Road
 Dallas, TX 75220

 Farroukh Zaidi                                                    Preferred                                             100%
 10733 Spangler Road
 Dallas, TX 75220

                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                Chief Executive Officer                    of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       1/18/2023
Date:__________________________________                            /s/ Farroukh Zaidi
                                                        Signature:________________________________________________________
                                                                   Farroukh Zaidi
                                                                   Chief Executive Officer
